387 F.2d 953
    EMPLOYERS' LIABILITY ASSURANCE CORPORATION, Ltd., Appellant,v.UNITED STATES of America, Appellee.UNITED STATES of America, Appellant,v.EMPLOYERS' LIABILITY ASSURANCE CORPORATION, Ltd., Appellee.
    No. 24705.
    United States Court of Appeals Fifth Circuit.
    Jan. 3, 1968.
    
      Bruce S. Bullock, Francis P. Conroy, Jacksonville, Fla., for appellant.
      William J. Hamilton, Jr., Asst. U.S. Atty., Jacksonville, Fla., Morton Hollander, Robert V. Zener, Stephen R. Felson, Attys., Dept. of Justice, Washington, D.C., for appellee.
      Before BELL, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      The judgment of the trial court as to coverage under the appellant's policy is affirmed.  During oral argument counsel for appellant conceded that the trial court's denial of attorneys' fees was erroneous if liability were to be affirmed.  We agree.  Fla.Stats.Ann. 627.0127.
    
    
      2
      Affirmed in part, reversed and remanded in part.
    
    